
GARLAND, Circuit Judge,
concurring in the denial of rehearing en banc:
On June 29, 2007, the Supreme Court granted the detainees’ petition for certio*390rari in Boumediene v. Bush, 476 F.3d 981 (D.C.Cir.2007). In granting that petition, the Court advised the parties that “it would be of material assistance to consult any decision in Bismullah, et al, v. Gates, ... currently pending in the United States Court of Appeals for the District of Columbia Circuit,” and that “supplemental briefing wall be scheduled upon the issuance of any decision” in that case. Boumedieue v. Bush, — U.S. ——, 127 S.Ct. 3078, 168 L.Ed.2d 755 (2007). The Supreme Court heard oral argument in Boumedieue on December 5, 2007. Were we to grant en banc review in Bismullah, we would plainly delay our decision and hence the Supreme Court’s disposition of Boumedieue. As delaying the latter is contrary to the interests of all of the parties, as well as to the public interest, I concur in the denial of rehearing en banc without reaching the merits.
